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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §           Case No. 4:01cr44
                                                   §           (Judge Schell)
 RANDELL DALE THOMPSON (5)                         §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, this Court is of the opinion that the findings and conclusions

 of the Magistrate Judge are correct, and adopts same as the findings and conclusions of the Court.

 It is therefore,

         ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

         ORDERED that Defendant’s supervised release is hereby MODIFIED. It is further

         ORDERED that Defendant’s supervised release shall be modified as follows: (1) The

 Defendant shall be placed on home detention for a period not to exceed 120 days, to commence

 immediately. During this time, the Defendant shall remain at his place of residence except for

 employment and other activities approved in advance by the U.S. Probation Officer; (2) the

 Defendant shall maintain a telephone at his place of residence without “call forwarding,” “a

 modem,” “Caller I.D.,” “call waiting,” or portable cordless telephones for the above period; (3) At

 the direction of the probation officer, the Defendant shall wear an electronic monitoring device and

 follow electronic monitoring procedures specified by the probation officer. The Defendant shall pay
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 the cost associated with his program of electronic monitoring; (4) The Defendant shall abstain

 from the use of alcohol and/or all other intoxicants; and (5) the Defendant shall not reside or have

 contact with Lisa Fahey.

              .   SIGNED this the 27th day of July, 2009.




                                                            _______________________________
                                                            RICHARD A. SCHELL
                                                            UNITED STATES DISTRICT JUDGE




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